Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 1 of 14 PAGEID #: 146

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
NOVUS GROUP, LLC, } Case No. 2:19-cv-00208
Plaintiff, } Chief Judge Edmund A. Sargus
v. Magistrate Judge Elizabeth Preston Deavers
PRUDENTIAL FINANCIAL IN C.,
ETAL, )
Defendants.

STIPULATED ESI PROTOCOL

Plaintiff Novus Group, LLC and Defendants Prudential Financial, Inc., Prudential
Insurance Company of America, Pruco Life Insurance Company, Pruco Life Insurance Company
of New Jersey, Prudential Annuities, Inc., Prudential Annuities Life Assurance Corporation, and
Prudential Annuities Distributors, Inc. (collectively, “the Parties”), by and through undersigned
counsel, have conferred regarding the production of electronically stored information (“ESI”) in
their possession, custody, or control, agree to the following, and respectfully move the Court to
enter this Order approving the same.

I. GENERAL

A. _ As used herein, “Requesting Party” means the party requesting production of ESI.
As used herein, “Producing Party” means the party that may be producing ESI in
response to the request of requesting party. As used herein, the words “Party” or
“Parties” include the Requesting Party and the Producing Party.

B. This Protocol applies to the ESI provisions of Fed. R. Civ. P. 16, 26, 33, 34, and
37. Insofar as it relates to ESI, this Protocol also applies to Fed. R. Civ. P. 45, if
agreed to by the recipient of any discovery request issued pursuant to that rule, in
all instances in which the provisions of Fed R. Civ. P. 45 are the same as, or
substantially similar to, the provisions of Fed. R. Civ. P. 16, 26, 33, 34, and 37,
Nothing contained herein modifies Fed. R. Civ. P. 45 and, specifically, the
provision of Rule 45(d)(2)(B) regarding the effect of a written objection to
inspection or copying of any or all of the designated materials or premises,

C. The Parties agree to meet and confer regarding any disputes related to the
application of this Protocol. Nothing in this Protocol shall be deemed to prevent

1
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 2 of 14 PAGEID #: 147

any Parties from agreeing to terms different than or inconsistent with the terms of
this Protocol.

Nothing in this Protocol shall be deemed to constitute a waiver of any objections a
Producing Party may have with respect to any document request,

Nothing in this Protocol shall be deemed to prevent a Party from seeking the
Court’s intervention with respect to any issues that may arise regarding the
application of this Protocol to a discovery request issued to Producing Party and/or
any objections Producing Party may have with respect to any such request if the
Parties are unable to resolve any such issues or objections without the Court’s
assistance. Likewise, nothing in this Protocol shall be deemed to prevent any other
Party from opposing relief sought from the Court.

Il, SCOPE OF ESI

A.

The Parties agree that Producing Party may redact: (i) personally identifiable
information, including but not limited to social security numbers, birthdates, and
similar kinds of information; (2) non-public personal, business, commercial, or
financial information that is neither relevant nor responsive to a discovery
request, the disclosure of which may cause substantial harm to a party; (3)
privileged; or (4) otherwise protected from discovery. For attachments that are
withheld, the Producing Party will provide a slip sheet with the basis for non-
production either on the face of the document or in a data field (e.g.,
confidential, privilege).

Data Sources include, but are not limited to, email and other electronic
communications such as instant messaging: information stored on devices such
as desktop or laptop computers, tablets, mobile phones (e.g., text messages),
digital cameras, and other portable devices; information stored on any other
hardware storage devices (e.g., external hard drives, memory cards, USB or
thumb drives, CDs/DVDs); discoverable information posted on any social
media forum (¢.g., blogs, message boards, Facebook, Instagram, Linkedin,
Twitter, MySpace, YouTube, Pinterest, or other online collaboration tools such
as Google+ or Yahoo! groups); discoverable information uploaded to any cloud
storage repository (¢.g., DropBox, Microsoft Office365 Account, Google Drive,
iCloud, Amazon Drive, etc.).

Data sources do not include ESI outside the possession, custody, and/or control
(defined here as the legal right of the Producing Party to obtain the information)
of the Producing Party.

Data sources do not include discovery regarding ESI that is not reasonably
accessible.
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 3 of 14 PAGEID #: 148

I. An example of not reasonably accessible data includes Orphaned Data;
which may include unknown or unindexed orphaned data which could be
unknown or unindexed materials retained in tape, floppy disk, optical disk,
or similar formats primarily for back-up or disaster recovery purposes as
well as archives stored on computer servers, external hard drives, notebooks,
or personal computer hard drives that are not used in the ordinary course of
a party’s business operations (e.g., archives created for disaster recovery

purposes),

2. Accordingly, subject to the limitations of Paragraph I1.D.4. below, the
categories of ESI deemed not reasonably accessible or outside the scope of
permissible discovery need not be preserved by the Parties. The following
categories of ESI are presumed inaccessible for this litigation:

a. Data stored in a backup system for the purpose of system recovery or
information restoration, including but not limited to, disaster recovery
backup tapes, continuity of operations systems, data or system mirrors or
shadows;

b. Information deemed as junk and/or irrelevant ESI outside the scope of
permissible discovery in this or other matters;

c. Server, system, or network logs, electronic data temporarily stored by
applications or electronic devices;

d. ESI collected from custodians that cannot be processed with known or
available processing tools;

e. ESI sent to or from mobile devices Provided a copy of that data is readily
accessible elsewhere: and

f. ESI stored on photocopiers, scanners, and fax machines.

3. Nothing in this order shall! require a party to preserve ESI that is routinely
deleted or over-written in accordance with an established routine records
management information governance or system maintenance practice,
provided that such ESI is copied or otherwise preserved before it is deleted
or overwritten.

4. Nothing in in this order shail relieve a party from their obligation to preserve
ESI sources accessed in the ordinary course of business, including disaster
recovery media and systems used for archival purposes where such ESI
source is the unique source of that ESI, The parties shall confer regarding

3
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 4 of 14 PAGEID #: 149

the scope of preservation of ESI within the scope of discovery that is
inaccessible or only of limited accessibility in accordance with the
procedure set forth in Paragraph ILF.

E. By June 15, 2019, the Parties agree to also exchange in writing the information
listed in items (1) through (3) below. The Parties agree and understand that their
respective responses are based on their knowledge and understanding as of the
date of the response, and each Party agrees to amend or supplement its
responses in a timely manner if it learns that in some material respect its
response is incomplete or incorrect.

1. A list of custodians (including current employees, former employees and
any other individuals or companies) likely to have discoverable
information, including job title and employment period for each individual
to the extent that it exists and is reasonably accessible.

2. A general description of systems for electronic communications and ESI
storage (“non-custodial sources”) likely to contain discoverable
information (e.g. shared network storage and shared electronic work
spaces). To the extent that databases are identified, the Parties will meet
and confer to discuss the production of fields within the scope of
permissible discovery,

3. A description of any ESI within the scope of discovery that the Producing
Party contends is inaccessible or only of limited accessibility and, hence,
not producible by that Party without undue burden and/or expense,
including:

a. The reasons for the Party’s contention re garding accessibility; and

b. The proposed capture and retrieval process available (if any) for
identification and/or recovery of the information deemed inaccessible
(including cost estimates if readily available),

F. After a reasonable inquiry, the Parties will exchange a suggested list of sources
that may be searched depending upon the scope of the document requests and
the Producing Party’s specific objections to certain requests.

G. Nothing in this protocol shall obligate a Party to preserve ESI outside the scope
of permissible discovery under 26(b)(1).
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 5 of 14 PAGEID #: 150

Tif.

SEARCH METHODOLOGY

A.

D.

The Parties may employ an electronic search to locate relevant electronic
documents. The Producing Party may use a reasonable electronic search of the
electronic documents so long as such searches meet the standard of care
promulgated in Rule 26(g).

The Parties recognize the intrinsic value of available tools to expedite review
and minimize the expenses associated with e-discovery. These tools include, but
aré not limited to, limiting the scope of the electronic search (through the use of
search terms, time frames, metadata fields, document types, and custodian
limitations), predictive coding, technology-assisted review (“TAR”), de-
duplication and near de-duplication, e-mail threading, date restrictions, and
domain analyses. The Producing Party may deploy these tools and technological
methodologies to speed up document review. Producing Parties are best
situated to evaluate the procedures, methodologies, and technologies

appropriate for preserving, searching, and producing their own ESI.

The Parties will discuss and attempt to reach an agreement on search
methodologies with the goal of limiti g the scope of review for production,
minimizing the need for motion practice, and facilitating production in
accordance with the deadlines set by the Court or agreed upon by the Parties.
The Parties agree that there may be certain categories of relevant ESI that may
not require automated searches. Nothing herein waives a Party’s ability to
object under Rule 34 .

Keyword Search Terms.

I. If used, prior to implementing search terms against collected ESI, the
Producing Party will provide a list of proposed search terms to the
Requesting party,

2. The Parties will meet and confer regarding any additional terms proposed by
the Requesting Party.

3. Ifthe Parties are unable to resolve any disputes over search terms through the
meet and confer process (which may include statistical sampling of disputed
terms), the Parties will submit the dispute to the Court in the form of a joint
discovery letter with a discussion of the relevance and/or burden associated
with the search terms in dispute.

A Producing Party may also utilize search methodology to identify and redact
certain documents and page ranges that otherwise require HIPAA redactions,
redactions of personally protected information (¢.g. tax identification numbers

5
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 6 of 14 PAGEID #: 151

or materials that would permit identity theft) or redactions pursuant to 21 C.F.R.
§ 314.430(e) and 21 C.F.R. § 20.63(f) for documents produced.

F, If a Party contends that the production of materials sought from one or more
sources are outside the scope of Rule 26(b)(1) , the Parties agree, if necessary,
to meet and confer to attempt to resolve the issue. Nothing in this Protocol shall
prevent a party from seeking the Court’s intervention with respect to any such
issue if the Parties are unable to resolve it themselves or from preventing any
other Party from opposing any relief sought.

IV. TIMING OF DISCOVERY

Discovery of ESI shall proceed in the following fashion: After receiving discovery
requests and upon reaching agreement regarding the scope, the Parties shall search and
review their ESI and produce responsive electronic data on a rolling basis, until such
production is complete.

Vv. FORMAT OF PRODUCTION
The Parties will produce ESI in accordance with the following protocol:

A. Non-Database ESI.

1. To the extent practicable, all non-database ESI shall be produced in TIFF
format. All TIFF formatted documents will be single page, black and white,
Group 4 TIFF at 300 X 300 dpi resolution and 8% X 11 inch page size,
except for documents requiring different resolution or page size.
Alternatively, if color is material to the ESI, the ESI shall be produced in
single-page color JPG format.

2. A unitization file, in standard format (e.g., Opticon, IPRO) showing the
Bates number of each page, the appropriate unitization of the documents and
the entire family range, will accompany each TIFF or JPG document.

3. A delimited text file that contains agreed upon metadata fields (see
paragraph VI.A.8), if those fields exist, and associated extracted (or OCR
for paper-based or redacted documents) text (see paragraph VI.A.4) should
also be produced and use the following delimiters:

Field Separator, ASCII character 020: “4
Quote Character, ASCII character 254 “p”
Multi-Entry Delimiter, ASCII character 059: “em

If the Producing Party requests alternate delimiters, the Parties shall agree
6
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 7 of 14 PAGEID #: 152

on alternate delimiters.

4. Extracted, searchable full text will be produced for each non-redacted
electronic document having extractable text. Each extracted full text file will
be named according to the first Bates number of the corresponding
electronic document.

5. Each TIFF or JPG version of an unredacted electronic document will be
created directly from the corresponding native file.

6. Unredacted spreadsheets,

a.

All unredacted spreadsheets should be produced in their native format
and in the order that they were stored in the ordinary course of business,
i.¢., emails that attach spreadsheets should not be separated from each
other and should be linked using the Attachment Range fields.

The file name should match the Bates number assigned to the file.

The extractable metadata and text should be produced in the same
manner as other documents that originated in electronic form.

A slipsheet with the words “File Produced Natively” with Bates number
and Confidentiality designation shall be placed to mark where the
original Native file was found in the normal course.

The Parties agree to work out a future protocol governing the use and
format of documents produced pursuant to paragraph V.A.6 at trial,
depositions or hearings (such as converting to tiff images in accordance
with paragraphs V.A.1-5).

7. Redacted spreadsheets.

a.

For redacted spreadsheet files (e.g., Microsoft Excel), TIFF or JPG
versions, if produced, shall include all hidden rows, cells, worksheets as
well as any headers or footers associated with the spreadsheet file.

A Party may elect to produce spreadsheet files as native rather than
image files. In the event that a Producing Party has native redaction
capability or seeks to remove a column or row from a spreadsheet for
redaction purposes, the Producing Party will identify the natively
redacted spreadsheet as redacted in the associated “Redacted” metadata

7
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 8 of 14 PAGEID #: 153

field.

8. Files that cannot be converted to TIFF or JPG in a readable form shail be
produced in native format in the manner described for unredacted
spreadsheets in Paragraph V.A.6. Such file types include, but are not
limited to, video, audio, animations, 3d drawings, hypertext markup files,
executables, and similar files.

9. Metadata.

a, The following metadata fields associated with each electronic document
will be produced, to the extent they exist as electronic metadata
associated with the original electronic documents. No Party will have
the obligation to manually generate information to populate these
fields.

b. The following fields (or their nearest functional equivalents) will be
produced by the Parties:

FIELD FORMAT DESCRIPTION

    

 

 

 

 

 

 

BEGDOC Fixed- Beginning Bates number
Length Text

ENDDOC Fixed- Ending Bates number
Length Text

BEGATTACH Fixed- Beginning of family range, first number of
Length Text first family member

ENDATTACH Fixed- End of family range, last number of last
Length Text family member

CUSTODIAN Single Choice

This field should be populated with the
primary source or custodian from whom the
document was collected.

ALL CUSTODIANS Multiple Value If global deduplication is used, this field will
be populated with the custodians who also
had a copy of this document or document
family, but which is not being produced
because of deduplication.

CREATION DATE Date (date:time) / Creation Date Time File System

TIME

SENT DATE TIME Date (date:time) | Sent Date and Time for email
RECEIVED DATE Date (date:time) | Received Date and Time for email
TIME

 

 

 

 

 

 

 

 

 

 
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 9 of 14 PAGEID #: 154

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MODIFIED DATE Date (date:time) | Last Modified Date and Time File System
TIME
TIME ZONE Single Object This field should be populated with the time
zone offset in which the documents were
processed and/or imaged, e.g. (UTC)
Coordinated Universal Time,
FILEEXT Fixed-Length Text] File Extension
FILENAME Fixed-Length Text] File Name (efiles)
FILE SIZE Number field File size, in megabytes
AUTHOR Fixed-Length Text] The author of the file.
HASHVALUE Fixed-Length Text} Algorithmic based Hash Value generated by
accepted method such as MDS or SHA] (or
CONTROL ID for scanned paper)
FILE PATH Fixed-Length Text Relative Path to any natively produced
documents.
BCC Long Text BCC Recipient Combined
CC Long Text CC Recipient Combined
FROM Fixed-Length Text} Sender Combined
SUBJECT Fixed-Length Text} Subject
TO Long Text Recipient Combined
REDACTED Yes or NO Indicates whether the file has been redacted
PAGE COUNT Whole Number _| Page count
CONFIDENTIALITY | Fixed-Length Tex Confidentiality
c. The Parties agree that system metadata dates may or may not be
accurate, but Parties will do their best to preserve accuracy of
system metadata (e.g. forensics are not required).
d. A Producing Party may withhold metadata fields for redacted

documents.

9. Embedded Files.

a.

If a document has another responsive file embedded in it, (eg.,
PowerPoint with a spreadsheet in it), the Producing Party may extract and
produce the documents as a separate document and treat such documents
as attachments to the document.

Upon request with the applicable Bates number(s), the Requesting Party

may ask the Producing Party that the embedded file be produced as a

standalone file. The Producing Party shall have 10 days to produce the

requested embedded files as standalone files, or respond in writing why it

will not produce the requested files. If there is a dispute, the Parties will

meet and confer on the objections. If the Patties are unable to agree, the
9
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 10 of 14 PAGEID #: 155

Parties will submit the issue to the Court.

c. A Party will have no obligation to produce any embedded file as a
standalone file if the embedded file was not processed as a standalone file
through the normal processes of the Producing Party’s vendor.

B. Native Files.

1. The Parties agree that documents will be produced in the imaged format as
set forth in paragraph V.A and that no Requesting Party may request or seek
to compel the production of ESI in native format on a wholesale basis, with
the exception of spreadsheets as detailed in paragraphs V.A.6 and 7 and files
that cannot be converted to TIFF or JPG as detailed in paragraph V.A.8.

2. Subsequent to the production of the imaged documents, however, and
according to the following protocol, a Requesting Party may request for
good cause from a Producing Party that certain imaged files be produced in
native format because the files are not reasonably usable in an imaged form.

3. The Requesting Party shall provide a list of Bates numbers of the imaged
documents sought to be produced in native file format, The Producing Party
shall have 10 days to produce the native files previously identified as not
reasonably usable, or it may object to the demand.

4. The Parties will meet and confer regarding the request and corresponding
objection(s). If the Parties are unable to agree as to the production of such
files in native format, the Parties will submit the issue to the Court.

C. Production of Documents Collected as Paper. For discovery requests resulting
in the collection of paper documents, the same specifications should be used as
the production of ESI in paragraph V.A with the following clarifications:

1. A delimited text file that contains available fielded data should also be
included and at a minimum include Beginning Bates Number, Ending Bates
Number, Custodian and Page Count.

2. To the extent that documents have been run through an Optical Character
Recognition (OCR) Software in the course of reviewing the documents for
production, full text should also be delivered for each document. Text
should be delivered on a document level in an appropriately formatted text
file (.txt) that is named to match the first Bates number of the document.

3. A text cross reference load file should also be included with the production

10
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 11 of 14 PAGEID #: 156

delivery that lists the beginning Bates number of the document and the
relative path to the text file for that document on the production media.

4. A Producing Party will make best efforts to unitize documents collected as
paper prior to scanning. However, the Parties agree that legacy scanned
documents in electronic form scanned prior to this litigation will be unitized
as they are collected in the ordinary course of business.

D. Production of Databases and Other Structured Data.

1, The Parties will meet and confer to address the production and production
format of any responsive data contained in a database or other structured
data source. If ESI in commercial or proprietary database format can be
produced in an already existing and reasonably available report form, the
Parties will produce the information in such a report form, in the
reasonably usable TIFF-image format described in paragraph V.A. If an
existing report form is not reasonably available, the Parties will meet and
confer to attempt to identify a mutually agreeable report form.

2. Nothing herein shall obligate a Producing Party to custom reporting. The
Parties shall meet and confer to discuss the associated cost and
proportionality of any custom reporting.

E, Other. The Parties share a desire to ensure that ESI is produced in an acceptable,
searchable format. The Parties recognize that certain, limited ESI may not be
amenable to the proposed technical specifications. The Parties will meet and
confer in good faith to reach agreement regarding these issues and the
appropriate form of production, and will seek Court intervention if necessary.

VI. DE-DUPLICATION

A. De-Duplication and Near De-Duplication.

1. Parties may de-duplicate globally. If Parties de-duplicate globally, it is agreed
that for each production, the Custodian metadata field will be provided asa
multi-value field as detailed in paragraph V.A.8.b.

2. The Parties agree that an e-mail that includes content in the “bee” or other
blind copy field shall not be treated as a duplicate of an otherwise identical e-
mail that does not include content in the “bee” or other blind copy field.

3. The Parties also agree that the use of near-de-duplication protocols can reduce
the cost of the review and production of ESI,

11
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 12 of 14 PAGEID #: 157

B. E-mail Threads & Attachments.

 

1. Producing Party may limit e-mail review toinclusive e-mail threads, but
Producing Party will produce all responsive emails.

2. Ifany issues arise from Producing Party’s production of e-mail chains, even if
not strictly production “errors,” Producing Party and the Requesting Party will
meet and confer in good faith to resolve or address such issues. If Producing
Party and the Requesting Party cannot resolve the issue, the Parties may seek
relief.

3. E-mails (with or without attachments) may be introduced into evidence as
separate documents without other e-mails or attachments in the e-mail chain
or with other e-mails or attachments in the chain redacted:

a. Without an objection based on authenticity or admissibility on
the grounds that the e-mails or attachments have been removed
from an e-mail chain in the process of producing ES]; and

b. Without prejudice to an objection based on Federal Rule of
Evidence (FRE) 106 that additional documents or e-mails should
be admitted in evidence as the remainder of or related writings or
statements.

The Parties reserve all other objections to the relevance, authenticity or
admissibility of ESI.

VIL. PRIVILEGE AND REDACTIONS
A. Redactions.
1. A Producing Party may redact ESI that the Producing Party claims is subject
to attorney client privilege, work product protection, contains information that
relates to other confidential business, commercial or financial information, or

any ESI for which there is a legal prohibition against disclosure,

2. The Producing Party shall mark each redaction with the bases for each
redaction (e.g., confidential, privilege).

3. The Producing Party shall preserve an un-redacted version of the item.

12
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 13 of 14 PAGEID #: 158

B.

Claims of Privilege and Privilege Log.

1. The Producing Party must furnish a log of all documents withheld from

production on the basis of attorney-client or work-product privilege
(“Privilege Log”) within a mutually agreed upon time frame after the final
production of documents.

. Consistent with Fed. R. Civ. P. 26(b)(5), the Producing Party’s Privilege Log

will contain the following information:

a. Date of document or communication (including month, day,
and year)

b. Type of document

Author of document

Sender of document (if different from author), including email

address

Recipient names (including email addresses)

CC names (including email addresses)

BCC names (including email addresses)

Bates range of the privileged documents, if applicable (e.g., for

produced documents with privileged information redacted}

Indication of the privilege

If produced, family member designation within the production

k. A description of the subject matter of the document or
communication with information sufficient to demonstrate the
existence of a privilege

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3. A Party need only log the topmost e-mail in a thread so long as the description

of the subject matter includes enough information sufficient to demonstrate
the privilege.

. To the extent available, individuals should be identified with enough

information to identify why the privilege attaches, such as name and job title
or other justification for assertion of privilege.

. Ifthe Requesting Party objects to a document (or part of it) being withheld or

redacted as privileged, it shall meet and confer with the Producing Party.
Should the Parties not be able to agree to a resolution of the dispute, the
Requesting Party shall submit the dispute to the Court.

13
Case: 2:19-cv-00208-EAS-EPD Doc #: 30 Filed: 05/16/19 Page: 14 of 14 PAGEID #: 159

VII. COSTS

The Parties agree that the Producing Party bears the burden of discovery costs absent
agreement or court order pursuant to Rule 26(c)(1)(B).

SO ORDERED: Civgctieg aus ton iyrteeg

 

 

 

 

Agreed to by:

‘s/ Gerhardt A. Gosnell IT (via phone /s/ Rachael L. Rodman

authorization 5.15.19) Rachael L. Rodman (0073872)

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14
